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                                       ALABAMA DEPARTMENT OF CORRECTIONS

                 INMATE REQUEST FOR ACCOMMODATIONS FORM
Document number:
Facility:                                                                                    Date received by Facility ADA
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Disability: Description/of disability that requires an accommodation. Include any anticipated accessibility
concerns. May attach additional sheet(s) if necessary.
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Accommodation: Description ofthe accommodation(s) you are requesting, must be specific. ADO(.'reserves the
right to offer an alternative accommodation that is equally effective in accommodating your needs.


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By signing this form, I attest that the a ve informatio s true to e best of my knowledge and I A authorizing
ADOC to evaluate the reasonableness of my request. Any information contained in this request shall only be
disclosed on a need-to-know basis in order to investigate and implement approved accommodations and will
otherwise remain confidential. I understand that failure to cooperate with this process, including providing
additional information, may result in denial of the requested accommodation.
Inmate signature:                                                       Date:

Facility ADA Coordinator Signature:                                                          Date:

Approval:                                                                  Denial:
Notes:   (include in addition to vital information whether granted, partially granted or alternative accommodation)




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                                ALABAMA DEPARTMENT OF CO          O.                    grir •
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                    INMATE REQUEST FOR ACCOMMODATIONS FORM
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 Dis ity: Descnption of disability that requires an accommodation. Include any anticipated accessibility
 concerns. May attach additional sheet(s)if necessary.
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 right to offer an afar' native accommodation that is equally effective in accommodating your needs.
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 ADOC to evahiate the reasonableness of my request. Any information contained in this request shall only be
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 Inmate signa
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- Appro      :._'                                                            Denial:
  Notes:   (include in addition to vital information whether granted, partially granted or alternative accommodation)

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                  Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 19 of 58
                                        ALABAMA DEPARTMENT OF CORRECTIONS                                               #
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                INMATE REQUEST FOR ACCOMMODATIONS FORM
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Inmate n                                                                                   AIS#:                          /
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Disa   ty: Description of disability that requires an accommodation. Include                           y anticipated accessibility
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Accommodation: Description ofthe accommo ation(s) you are requesting, must be specific. A ROC reserves the
right to offer an alternative accommodation that is equally effective in accommodating your needs.




By signing this form,I attest that the above information is true to the best of my knowledge and I am authorizing
ADOC to evaluate the reasonableness of my request. Any information contained in this request shall only be
disclosed on a need-to-know basis in order to investigate and implement approved accommodations and will
otherwise remain confidential. I understand that failure to cooperate with this process, including providing
additional information, may result in denial of the requested accommodation.
Inmate signature:                                                         Date:

Facility ADA Coordinator Signature:                                                        Date:

Approval:                                                                  Denial:
Notes: (include in addiiion to vital information whether granted,partially granted or alternative accommodation)




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               Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 20 of 58


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                                Appeal of Denial of Request for Accommodation
Description of reason(s) for appeal:




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By signing this form, I attest that the above inforrnation regarding this request for appeal is true to the best of my
knowledge and I am authorizing ADOC to evaluate the reasonableness of my request. Any information
contained in this request shall only be disclosed on a need-to-knoW basis in order to investigate and implement
approved accommodations and will otherwise remain confidential. I understand that failure to cooperate with this
process, including providing additional information, rnay result in denial of the requested accommodation.
Inrnate signature:                                                         Date:

Statewide ADA Coordinator Signature:                                         Date:

Approval:                                                       Denial:
Notes:




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Response returned to Inmate      Date:
File Copy:
Appeal received:
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Referred to Medical:             Date:
Medical decision returned:       Date:                                                          \i\
              Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19   Page 21 of 58
                                                                  Inmate File [Original]
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                                      ALABAMA DEPARTMENT OF CORRECTIONS

                 INMATE REQUEST FOR ACCOMMODATIONS FORM
Document nu ber:
Facility:                                                                                 Date received by Facility ADA
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Inmate name-                                                                              AIS#:
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Disability: Description of • ability that requires an accommodation. Include any anticipated accessibility
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Approval:                                                                Denial:
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             Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 22 of 58

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                                                                                                               Statewide ADA Coordinator


                                       ALABAMA DEPARTMENT OF CORRECTIONS                                              FEB        C-7 78


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 Facility:                                                                               Date received by Facility ADA
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 Accommodation: Description o      accommodation(s) you are requesting, must be specific. ADOC reserves the
 right t er an alternative accommodation that is equally effective in accommodating your needs.
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 ADOC to eva- ate e reasonabiene - .of my request. Any information comained in this request shaii only be
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                                                Medical Referral                           —_
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Decision:



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Medical Professional Signature:                  Al                     Date:
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                                Ap eal of Denial of Request for Accommodation
Description of reason(s) for appeal:
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  Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 24 of 58
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           Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 29 of 58
AIS#:    182262               Inmate name: Pat Charest                            Document #: 18-HAIF-0003
                                              Medical Referral

         El URGENT Response (1 day)                                    NON-URGENT Response (3 days)
Decision:,




Medical Professional Signature:                                           Date:
                                        see attached appeal
                                Appeal of Denial of Request for Accommodation
Description of reason(s) for appeal:
    See attached appeal dated February 14, 2018 document 18-HAIF-003.




By signing this form, I attest that the above information regarding this request for appeal is true to the best of my
knowledge and I am authorizing ADOC to evaluate the reasonableness of my request. Any information
contained in this request shall only be disclosed on a need-to-know basis in order to investigate and implement
approved accommodations and will otherwise remain confidential. I understand that failure to cooperate with this
process, including providing additional information, may result in denial of the requested accommodation.
Inmate signature:                                                          Date:
                                   see page 2
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Sta   ide ADA Coordina          • nature:                                  Date:

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Notes:
Your request for transfer stating violation of the ADA Title II integration mandate and Olmstead v. L.C. is
unsupported. Inmate should complete an inmate request slip to be placed on the transfer list for Fountain CF
through classifications at Hamliton A&I. Your charge of retaliation under the ADA is unsubstantiated.
Captain Knight referred inmate to medical on request for accommodations FCF-17-00016, which medical
stated "... referred to chronic are provider ... medical records reflect appropriate current profiles. Requests will
be addressed by provider if appropriate." Inmate should complete a sick call slip for therapy and post-op
"treatment care" as he stated in attached letter. Office of Health Service (consultant Corizon) is the ADOC
department that can determine your need for healthcare services (i.e. medical/dental appointments or
treatrnent).



Response returned to Inmate       Date: appeal 3/5/18
File Copy:                        Date:      appeal 3/5/18
Appeal received:                  Date:      2/16/18
Referred to Medical:              Date:
Medical decision returned:        Date:

                                                    Page ZELL 3 of 3
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  Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 30 of 58


 DOC 1\,; 934
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                          CLASSIFICATION APPEAL FORM
                                                                           /3//g eZA/„4
 INSTITUTION,       A/Pi/kJ .14                    DATE: 24V7/0/8
 NAME:                                             AIS#: /c5226"2_____


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I. LEARLY SATE THE DECISION ?FIAT IS BEING APPEALED:                                 ,Ks-


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 II. BRIEFLY AND CLEARLY STAT YOUR REASON FOR APPEALING:

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 APPEAL GRANTED:                                   DENIED:

                         DATE:

 COMMENTS:




 Attachment 8.3.
               Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 31 of 58


                                        ALABAMA DEPARTMENT OF CORRECTIONS
                                                                                                                                       cv- C70/
                   INMATE REQUEST FOR ACCOMMODATIONS FORM
                                                                                                                                           ei4g7
Document number:
Facility:                                     —            .„----•                           l Date received by Facility ADA
                                                                                               Coordinator:
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Inmate nam                                                                                     AIS#:                .
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Disability: Description of disabiWty that requires an accommodation. Include any anticipated accessibility
concerns. May attach additio al sheet(s) if necessary.

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Accommodation: Description of the accommodation(s) you are requesting, must be specific. ADOC reserves the
right to offer an alternative accommodation that is equally effective in accommodating your needs.


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By signing this form, I attest/that the above information is true to the b of     knowledge and I am authorizing
ADOC to evaluate the leas. - .   bleness of my request. Any  information  contained in this request shall only be
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Fwd. y ,'1111., A Co. I ator Signature:                                   Date:                              f


Approval:                                                                    Denial:
Notes:    (include in addition to vital in ormation whether granted, partially granted or alternative accotnmodation)

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                                                                     Page 1 of 2
          Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 32 of 58


                                                 Medical Referral

                   URGENT (1 day)                                          NON-URGENT (3 days)
Decision:




Medical Professional Signature:                                          Date:

                                Appeal of Denial of Request for Accommodation
Description of reason(s) for appeal:




By signing this folin, I attest that the above infonuation regarding this request for appeal is true to the best of my
knowledge and I am authorizing ADOC to evaluate the reasonableness of my request. Any infoiuiation
contained in this request shall only be disclosed on a need-to-know basis in order to investigate and implement
approved accommodations and will otherwise remain confidential. I understand that failure to cooperate with this
process, including providing additional information, may result in demal of the requested accommodation.
Inmate signature:                                                          Date:

Statewide ADA Coordinator Signature:                                     Date:

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Approval:                                                 1 Denial:
Notes:




Response returned to Inmate       Date:
File Copy:                        Date:
Appeal received:                  Date:
Referred to Medical:              Date:
Medical decision returned:        Date:


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                     Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 33 of 58
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                                                         ALABAMA DEPARTMENT OF CORRECTIONS

                         INMATE REQUEST FOR ACCOMMODATIONS FORM 527 /4
   Document number: i                    8_ t_thir_ tooN, -
   Facility:
                            ;        •                                                                               Date received by Facility ADA
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   Disability: Description of disability 1-1-0t requires'an accommodation. Include any anticipated accessibility
   concerns. May attach additional sheet,(s) if necessary./            \                              / /
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  Notes:       (include in addition to vital information wh -ther granted,partially granted or alternative accommodation
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            Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 34 of 58


                                                 Medical Referral

                   URGENT (1 day)                                         NON-URGENT (3 days)
Decision:




Medical Professional Signature:                                          Date:

                                Appeal of Denial of Request for Accommodation
Description of reason(s) for appeal:




By signing this form, I attest that the above information regarding this request for appeal is true to the best of my
knowledge and I am authorizing ADOC to evaluate the reasonableness of my request. Any information
contained in this request shall only be disclosed on a need-to-know basis in order to investigate and implement
approved accommodations and will otherwise remain confidential. I understand that failure to cooperate with this
process, including providing additional information, may result in denial of the requested accommodation.
Inmate signature:                                                         Date:

Statewide ADA Coordinator Sigiature:                                     Date:

Approval:                                                  Denial:
Notes:




Response returned to Inmate       Date:•..3 15 I8            •     .
File Copy:                        Date:         LS         16/63
Appeal received:                  Date:
Referred to Medical:              Date:
Medical decision returned:        Date:


                                                    Page_2 of 2.
                                  Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 35 of 58



                                                                          ALABAMA DEPARTIVENT OF CORRECTIONS                                                                                                           , -
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                                        INMATE REQUEST FOR ACCOMMODATIONS FORM
         Document number:
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         Facility:                      .                                                                                                                  Date received by Facility ADA
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         right to o er an alternative accommodation that is equally effective in accommodating your needs.
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              Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 36 of 58


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                                                     Medical Referral                               _

                       URGENT (1 day)                                          NON-URGENT (3 days)
    Decision:




    Medical Professional Signature:                                           Date:

                                    Appeal of Denial of Request for Accommodation
    Description of reason(s) for appeal:




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    approved accommodations and will otherwise remain confidential. I understand that failure to cooperate with this
    process, including providing additional infoiuiation, may result in denial of the requested accommodation.
    Inmate signature:                                                          Date:

    Statewide ADA Coordinator Signature:                                      Date:

    Approval:                                                   Denial:
    Notes:




    Response returned to Inmate       Date:   .3 13 lb                                     -
    File Copy:                        Date:       ou ifj              13 1 b
    Appeal received:                  Date:
    Referred to Medical:              Date:
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                            Case 2:19-mc-03852-MHT-WC Document 1-1 Filed    01/16/19 Page 37 of 58
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  Accommodation: Description of the accomrr-radation(s) you are requesting, rn(*t be specific. ADOC reserves the
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            Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 38 of 58


                                                 Medical Referral

                   URGENT (1 day)                                          NON-URGENT (3 days)
Decision:




Medical Professional Signature:                                           Date:

                                Appeal of Denial of Request for Accommodation
Description of reason(s) for appeal:




By signing this faun, I attest that the above infoiuiation regarding this request for appeal is true to the best of my
knowledge and I am authorizing ADOC to evaluate the reasonableness of my request. Any information
contained in this request shall only be disclosed on a need-to-know basis in order to investigate and implement
approved accommodations and will otherwise remain confidential. I understand that failure to cooperate with this
process, including providing additional information, may result in denial of the requested accommodation.
Inmate signature:                                                          Date:

Statewide ADA Coordinator Signature:                                      Date:

Approval:                                                    Denial:
Notes:




Response returned to Inmate       Date:     (3 le
File Copy:                        Date:     0 /1   6             13 18
Appeal received:                  Date:
Referred to Medical:              Date:
Medical decision returned:        Date:


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                 Case 2:19-mc-03852-MHT-WC
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    ‘.Pisability Rights Section                                         /4/474” 2-27-77
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                   Tide II of the Americans with Disabilities Act / uce,7
           v        Section 504 of the Rehabilitation Act of 1973
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                   Instructions: Please fill out this form completely, in black ink or type3.
                                 Sign and return it to the address on page 3.


       Complainant:

       Address: c/o        <-771               i'Ai
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      Telephone:        Home :            ZA1/6V 1
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       Person Discriminated Against: (if other than the complainant)

       Address:

       City, State and Zip Code:

       Telephone:       Home :                                          Business :       A/4



       Government,
               te/ o o ganization, or institution which you believe has discriminated:

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      When did the discrimination occur?          Date :                                         2/1"
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    OMB No. 1190-0009 Exp. Date 10/31/2000
             Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 40 of 58
 Describe the acts of discrimination providing the name(s) where possible_athe individuals who
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 discriminated (use space on page 3 if necessary): ON 012 4(44:/ 7-c-0             440114,-)44.-A 3'
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 Have efforts been made to resolve this complaint through the internal grievance proc dure of the
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 Has this complaint been filed with another bureau of the Department of Justice or any other Federal, State,
 or local civil rights agency or court?      Yes      No II]

 If "yes":

 Agency or Court:                        (7,pf                    c4,     ce     K-/?(-/
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                 Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 42 of 58                                                  tey
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                                         ALABAMA DEPARTMENT OF CORRE                                                             -Ci(f—e/

    INMATE REQUEST FOR ACCOMMODATIONS FORM                                                                                      /1117--
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  Facility:                                                                                    Date received by Facility ADA
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  Inmate     :                                                                                 AIS#:
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 Disability: Desc tion of disability that requires an accommodation. Include any anticipated accessibility
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  Accommod ion: Desc tion of the accomm dation(s) you are request. g, must be specific. AD                                     res   es the
  right to offer an alternative accommodation that is equally effective in accommodating your needs.




  By signing this s , attest that the above information is true to the best of my knowledge and I am authorizing
  ADOC to e .0 uate t • reasonableness of        request. Any information contained in this request shall only be
  disclose. on a ne- s-to-kno     sis i • t er to investigate and implement approved accommodations and will
  othe se rem. confid:.tial. I u . stan• at failure to cooperate with this process, including providing
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  Fa ity ADA r oor                  S gnature:                                                 Date:

  Approval:                                                                  Denial:
  Notes:   (include in addition to vital information whether granted, partially granted or alternative accommodation)




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                Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 43 of 58
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                                                                                      United States Attorney's Office
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            The United States Attorney's Office (USAO), in coordination with the Civil Rights Division of the LlniteciStates_ __—
  Department of Justice, is charged with enforcing_the fedexaLcivil-rights--laws-thrOnghbrict of Alabama. We
 -tberefore-weicomnthepubliC that brings to our attention possible violations ofour Nation's civil rights laws. The
  USAO is primarily a litigating office and not an investigative Office. The information you provide on this complaint form may be
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  Person filing complaint:                                   Person/Entity you are filing complaint about:

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 email:

 Nature of Alleged Civil Rights Violation (please check specific area(s) that apply to your complaint):
[ ]Abortion Clinic Access                       [ ] Housing Discrimination                [ ]Race/National Origin
[ ]Credit/Lending Opportunities                 [ ]Human Trafficking                      [ ]Religious Liberties
     Disability Rights or Access                    Law Enforcement Misconduct [ ]Voting Rights
[ ]Educational Opportunities                    [   MilitaryNeteran Status              Other/414 4;4
[ ]Employment Discrimination**                 --4
                                                 ,
                                                 1 Prisoner or Institutionalized Person Rights
[ ]Hate Crime
 **Note: "Employment Discrimination" includes Immigration Related Unfair Employment Practices

 Please clearly describe the violation ofthe civil rights laws that you would like to bring to our attention.
 Include as much information as possible, including the date, place, nature of incident, and contact
 information for any witnesses (please include copies of supporting documentation, but do not send
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'                        ..,
ii               Do you believe that the violation of civil rights described in this complaint is part of, or results from,
 i               a policy, pattern, or practice on the part of the person or entity named above? If so, please describe the
1                policy, pattern, or practice in detail and identify others who you believe were subkqed to thesame or
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                 Are you represented by an attorney in tins matter?[ Yes WrNo   If yes, please provide name of tir_. eC_
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                 attorney,address and phone number.
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                 Address 70/ - /91c1c/i/Vezii4) S el"4-",
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     rtal.;      Have you filed a lawsuit concerning this matter? [ j Yes ,Pcl No-                       If yes, please provide the case
                 name, court in which the case was brought, and the status of cse.

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                Have you filed a complaint about this matter with any other federal, state, or government agency?
                   Yes r 3"No           If yes, please list the a ency, contact person, phone, and status of.the complaint.




                     Although the volume ofinforrnatiOn we receive from concerned members ofthe public prevents us from
                responding to every complaint we receive, be assured that we will carefully consider the information you have
                provided us to determine whether a vicilation of the federal civil rights laws may have occurred and, if so,
                whether the United States Department ofJustice through the United States Attorney's Office or another agency
                has enforcement authority with respect to such a violation. This Office has the diicretion to determine if your
                complaint raises a potential violation of federal civil rights laws that would be within the jurisdiction of this
                Office to investigate, or should be referred to another agency for investigation.
                ***SUBMITTING A COMPLAINT TO THIS OFFICE HAS NO L.H,ECT ON ANY STATUTE OF LIMITATIONS THAT
                MIGHT APPLY TO ANY ciAtikqou MAY HAVE. BY SUBMITTING THIS COMPLAINT YOU HAVE NOT
                COMMENCED A LAWSUffOR OTHER LEGAL PROCEEDING,AND TEM OFFICE HAS NOT INITIATED A SUIT OR
                PROCEEDING ON Y/OUR BESLF. IF yoy-ffiLIOE YOUR CIVIL RIGHTS.HAVE BEEN VIOLATED AND YOU
                INTEND TO SUE FÓR MONEY OR O 1ii,Eg RELIO,YQU SHOULD CONTACT A PRIVATE ATTORNEY.
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                Signature://           •                           /                 /1:;?ie9             Date:-3///     sA7/ -
                     Mail o       your completercWaint form along with any supporting docurnentation to the following:
                                                   \-/Civil Rights Coordinator, Civil Division
                                            United States Attorney's Office, Southern District of Alabama
                                                           63 South Royal Street, Suite 600
                                                               Mobile, Alabatna 36602
                                                                  251.441.5051 (fax)

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                Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 51 of 58




                                     ALABAMA DEPARTMENT OF CORRECTIONS

                INMATE REQUEST FOR ACCOMMODATIONS FORM
Document niimber:               _                 Obai-
Facility: /                                                                              Date received by Facility ADA
                                                                                         Coordinator: L.V

Inmate                                                                                    AIS#:
              /1AR
Disab ty: Description ot'disaKlity that requires an acEcamodation. Include any anticipated accessibility
conce . May attach additional sheet(s) if necessary.




Accommodation: Description of the accommodation(s) you are requesting, must be specific. A.DOC reserves the
    to offer an alternative accommodation that is equally effective in accommodating your needs.

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By s crn;    1-1 c fryn-n    2-ttest that the above infoimation is true to the best of my knowledge and I arn authorizing
ADOC    to evalu    te                  eness of my request. Any information contained in fhis request shall only be
disclosed on a ne                 w bas s in order to investigate and implement approved accommodations and will
otherwise rema                   tial.      derstand that failure to cooperate with this process, including providing
additional info,                           ' denial of the requested accommodation.
liltaate Sipa                                                                    Date:

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kifioroval:                                                                 Denial:
Notes: (include in addition to vital information whether granted, partially granted or alternative accommodation)
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                                                    Medical Referral                          .—..
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             iJ 1 URGENT (1 day)                                                     NON-URGENT (- 3 days)
 Decision:
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 Medical Professional Signature:                                                  I Date:

                                Appeal of Denial of Request for Accommodation
 Description ofreason(s) for appeal: fi ,         7 .
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BY sigiing this form, I att-st that se above o matiorlre:. ding this requ st for a.f:••1 is -true to the best ofra4-1.-(
knowledge and I am authorizing          C to evaluate the reasonableness of my requek. Any information
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Inmate signilM                                                              Date:   ,r, -
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Approval:               lir                              —1 Denial:           CR
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 determine if this is an ADA accommodation related to you
                                                             specific disability. Maintanence is aware ofthe
 exercise bikes repair needs.




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  Referred to Medical:     .       Date:          -                                                      .
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                                      ALABAMA         DEPARTMENT OF CORRECTIONS
                 Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 53 of 58
                  INMATE REQUEST FOR ACCOMMODATIONS FORM
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 Facility:
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                                                                                        Coordinator: &V gli
           ---""   71,EL5                                X(61(__.
 Disability: Description of disability at requires an accommodation. Include any anticipated accessibility
 concerns. May attach additional sheet( )if neces ary.
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 Accommodation: Description ofthe acc         odation(s) you are requesting, must be     c . ADOC reserves the
 right to offer an alternative accommodation that is equally effective in accommodating your needs.

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 ADOC to evaluate the re - iia eness o',..uy revest. Any information contained in this request shall only be
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 Notes: (include in addition to vital information whether granted, partially granted or alternative accomrnodation)

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            Case 2:19-mc-03852-MHT-WC Document       1-1 Filed 01/16/19 Page 54 of 58
                                         Medical Referral

         Fl URGENT Response (1 day)                                  NON-URGENT Response (3 days)
Decision:




Medical Professional Signature:                                         Date:

                                Appeal of Denial of Request for Accommodation
Description of reason(s) for appeal:




By signing this form,I attest that the above information regarding this request for appeal is true to the best of my
knowledge a.nd I am authorizing ADOC to evaluate the reasonableness of my request. Any information
contained in this request shall only be disclosed on a need-to-know basis in order to investigate and implement
approved accommodations and will otherwise remain confidential. I understand that failure to cooperate with this
process, including providing additional information, may result in denial of the requested accommodation.
Inmate signature:                                                        Date:

Statewide ADA Coordinator Signature:                                    Date:

Approval:                                                  Denial:
Notes:




              •
Response  returned to Inmate      Date: 6/0///g
File Copy:                        Date: zobitlif
Appeal received:                  Date:
Referred.to Medical:              Date:
Medical decision returned:        Date:

                                                    Page 2 of 2
    Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 55 of 58



The Law Firm of
Henry Brewster,
                                                                                               (6
205 North Conception Street
Mobile, Alabama 36603

                                                                       June 22, 2018
In re:                      (Two Decades of Seeking Justice )



Greetings Mr,Brewster;

         Please note, your office was referred to me, by Southern Poverty Law Center, one
Miranda Bolef, in light of another advocacy group called: "Alabama's Advocacy
Program"("ADAP") in the instance, as a direct result of Civil Rights being twarted, not
only by ADOC's insolent -behavior, irrespective of the American with Disability's Act
[42 USC § 12011 et. seq.] but likewise it's junctive counterpart § 504 of the•Rehabilitation
Act of 1973 [29 USC § 701 et. seq.]; but moreso, by usurpation of Courts -trammelling
upon Congress's invocation of controlling -governing progenies.

         Getting to the crux of my reasoning for this request -arising from years of
"suffering," despite imprisonment in the draconian environment, otherwise known as
"The Cage." You being an advocate for civil rights, remain moreso the excerpt than I,
and after saying such, given the current condition[s] of confinement, being gravely
overcrowded and unden'taffed not only in Alabama, but likewise throughout the entire
USA.

         I'm hoping, your son-iewhat familar with the 2011 -holding, released in Brown v.
Plata, 563 U.S. 493, dealing with California's refusal to obey the "rule of law" governing
inmates' rights, to both: i) adequate medical care / treament and ii) safety and security,
despite one's incarceration.

         Nevertheless, Mr. Brewster, ADOC in 2014;through efforts of the 'above groups,
we've managed to get—an ear of the Federal Court[s] in alI three districts [Southern,
Middle,and Northern] at present. The seminale cases: i) Dunn vs. Dunn and ii) Braggs
vs. Dunn, 2014-CV-601, before Honorable Myron Thompson, District Judge, whom-
fostered the ancillary reasoning / rationale for my current -challenges, arises from



                                             1
     Case 2:19-mc-03852-MHT-WC Document 1-1 Filed 01/16/19 Page 56 of 58



  violations of the above "consent -decree" now not otherwise being obeyed!

         Despite the holding of Brown -paving the road for change -and laying the
  foundation for other States to adhere to said principle doctrine, comes along good old
  Alabama's defiance -despite the progeny -above, giving rise to the Middle District's
  grant on the above two cases.

      'Having filed       numerous grievances in prison -regarding certain ADA
  accommodation requests for service, programs supposedly available to us as inmates, I
  was forced to file a Federal action in the Middle District, and during this month, the
  Federal Court "transferred me to the Southern Districr reflecting since the intial
  complaints arose while housed at Fountain, and many named defendants were living
  down south and a claim was for retaliation, it might otherwise be more fittingly for
  them to review; they've yet decided the In Forma Pauperis declaration -either, so time is
  not yet critical, Okay?           . ----........,.....           ---____T__________
                       ______---- -

             r x m 1 Mr. Brewster, I've enclosed for your professional input aiy 0
              e a p e,
   .,-- -''F.c5--.---
--=the pleadings I submitted to the Federal Court, prior to it's transfer; however, plea e let
  me know whether vel non you'd either be interested or able, per se, to appear or write as
  friend of the court, a brief, to underpin this complaint?

         The corapJain.t,--speaks -fUr
                                     - -i-g.eT-7.           d be honored if you'd Answer
                                                      171 -17
  accordingly, since you were in fact -referred by Southern Poverty Law Center, Ms.
  Bolef. Currently S.P.L.C. is accepting complaints we file under ADA, at Hamilton A & I
 ("HAIF") for the Middle District "arbitration -hearing" tentatively they're working on,
  given the condition of the inmates at this eldery institution, not otherwise obeying the
  federal strictures.

         Hope this letter finds you -your firm in good spirits and look forward to hearing
  from you,in hopes you'll HELP forthwith?

                                                    ResPectfully Submitted,


                                                    Patrick Joseph Charest, Pro per #182262
                                                    Hamilton A & I
                                                    223 Sasser Drive

                                               2
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                                                           Alabama Disabilities Advocacy Program
                                                                                       Box 870395
                                                                      Tuscaloosa, Alabama 35487
                                                                                 0(205) 348-4928
                                                                                 F (205) 348-3909
                                                                                   (800) 826-1675
                                                                                adap@adap.ua.edu
                                                                                 http://adap.ua.edu

September 25, 2018

Patrick Charest, AIS #182262
Hamilton Aged and Infirmed
223 Sasser Drive
Hamilton, AL 35570

Re:      Request for Assistance

Dear Mr. Charest:

This letter is in response to your correspondence that was dated July 24, 2018. Thank you for
contacting the Alabama Disabilities Advocacy Program (ADAP). In your letter, you asked
multiple questions regarding ADAP and your rights under the ADA.Below are ADAP's responses
for those questions.

      1) Would ADAP be interested in reviewing facts concerning one person's injuries within
         ADOC or is a certain number required?
            a. ADAP is interested in protecting the rights ofall individuals with disabilities within
               the state of Alabama. If individuals are seeking monetary damages for injuries
               received while in ADOC custody, they should contact an independent attorney.

   2) Would ADAP be interested in briefing an amicus curiae on your behalf for your §1983
      case in the Southern District?
         a. No.

   3) Your question/request was unclear, but mentioned ADA requests and medical grievances.
         a. ADAP is not currently involved in the claims against ADOC related to the
             provision of inadequate medical treatment. To the extent you have concerns about
             your medical treatment, SPLC may be able to assist you. To the extent you have
             any outstanding accommodation issues related to a disability, ADAP has the ability
             to look into those issues as the monitor for the Phase 1 Consent Decree in Braggs
             v. Dunn. Issues will be evaluated following your submission of an accommodation
             request to the ADA Coordinator at your facility and appeal to the Statewide ADA
             Coordinator.




                   The Protection and Advocacy System for the State of Alabama
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      4) Has ADAP visited Hamilton A&I and spoken with individuals regarding their ADA
         requests?
             a. ADAP has intervened on behalf of multiple individuals at Hamilton A&I where we
                believe a problem exists.

      5) Does ADAP know that ADOC removed benches following the escape of an inmate and
         provided inadequate replacements?
            a. ADAP was made aware of the removal of benches at Hamilton A&I but were not
                aware that the new benches are inadequate. We would appreciate any additional
                information on the new benches, including why they are inadequate, approximately
                how often individuals are required to stay outside, how many benches are available,
                and any other relevant information. An envelope has been included with this
                letter to allow you to respond on this matter.

      6) Drinking fountain at Hamilton A&I.
            a. ADAP is aware of the inaccessibility of the fountains. The ADOC Transition Plan
                regarding architectural remediation is expected to be completed within two (2)
                months. Fountains are addressed within the Transition Plan. There will be a copy
                available in the law library following its completion for review by any interested
                individuals.

      7) If ADOC and the Statewide ADA Coordinator denies requests for accommodations, what
         other recourse is available?
             a. There is an arbitration procedure currently in place. The arbitration procedure is
                 mentioned within the Consent Decree and outlined in Doc. 1676-1 (enclosed).
                 ADAP is unable to assist in any arbitration process.




Ve     truly yours,



As ley N. Aust
Law Fellow

cc:      File

Enclosures:     Doc. 1676-1
